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                    Exhibit B
                       Case 23-11131-TMH             Doc 542-2        Filed 10/15/23        Page 2 of 8


Hershey, Samuel

From:                               Pesce, Gregory
Sent:                               Thursday, October 12, 2023 7:52 PM
To:                                 Richard Pachulski
Cc:                                 James O'Neill; O'Neill, Andrew; Alan Kornfeld; Debra Grassgreen; Hershey, Samuel;
                                    Steven W. Golden; Christopher Samis
Subject:                            RE: Amyris - Jefferies


Rich -

Also, Sam is available to coordinate any deposition of Jefferies if the Debtors wish to take one. Finally, please feel free
to coordinate with Sam on any discovery you may wish to seek.

Thanks.

Gregory F. Pesce | Partner
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From: Richard Pachulski <rpachulski@pszjlaw.com>
Date: Thursday, Oct 12, 2023 at 7:38 PM
To: Pesce, Gregory <gregory.pesce@whitecase.com>
Cc: James O'Neill <JONeill@pszjlaw.com>, O'Neill, Andrew <aoneill@whitecase.com>, Alan Kornfeld
<akornfeld@pszjlaw.com>, Debra Grassgreen <dgrassgreen@pszjlaw.com>, Hershey, Samuel
<sam.hershey@whitecase.com>, Steven W. Golden <sgolden@pszjlaw.com>
Subject: Re: Amyris - Jefferies

Thanks.

Sent from my iPhone

On Oct 12, 2023, at 4:38 PM, Pesce, Gregory <gregory.pesce@whitecase.com> wrote:


Rich -

You have our answer. File your motion and we will response. Stop with the threads and with delaying the case with these types of
excuses and delays. The company — as you keep telling me — doesn’t have the liquidity for delays.

Gregory F. Pesce | Partner
T +1 312 881 5360 E gregory.pesce@whitecase.com
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<14CC9315-084B-401F-B809-603A91197B35.jpg>



From: Richard Pachulski <rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>>
Date: Thursday, Oct 12, 2023 at 7:30 PM
To: Pesce, Gregory <gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com>>
Cc: James O'Neill <JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com>>, O'Neill, Andrew
                                                                1
                         Case 23-11131-TMH                Doc 542-2         Filed 10/15/23         Page 3 of 8
<aoneill@whitecase.com<mailto:aoneill@whitecase.com>>, Alan Kornfeld
<akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com>>, Debra Grassgreen
<dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com>>, Hershey, Samuel
<sam.hershey@whitecase.com<mailto:sam.hershey@whitecase.com>>, Steven W. Golden
<sgolden@pszjlaw.com<mailto:sgolden@pszjlaw.com>>
Subject: RE: Amyris - Jefferies

If you think Jefferies’ risk of having breached the NDA and being a witness based on their Givaudan valuation analysis is petty and
disingenuous, aside from their conflict in providing the Debtors with the analysis in the first place, you are welcome to raise that
with the Court. I strongly recommend the OCC grant the 2 week continuance. I also assume you have provided the Debtors’ position
to Jefferies’ counsel, even though they have not been included in this e-mail string.

Regards,

Richard

Richard Pachulski
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 | Fax: 310.201.0760
rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>
vCard<http://www.pszjlaw.com/vcard-35.vcf> | Bio<http://www.pszjlaw.com/attorneys-richard-m-pachulski.html> |
LinkedIn<https://www.linkedin.com/in/richard-pachulski-a3891ba0>

<image001.jpg>
<image002.png>
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From: Pesce, Gregory [mailto:gregory.pesce@whitecase.com]
Sent: Thursday, October 12, 2023 4:16 PM
To: Richard Pachulski <rpachulski@pszjlaw.com>
Cc: James O'Neill <JONeill@pszjlaw.com>; O'Neill, Andrew <aoneill@whitecase.com>; Alan Kornfeld <akornfeld@pszjlaw.com>;
Debra Grassgreen <dgrassgreen@pszjlaw.com>; Hershey, Samuel <sam.hershey@whitecase.com>; Steven W. Golden
<sgolden@pszjlaw.com>
Subject: RE: Amyris - Jefferies

Rich - Let’s take it up with the judge. This is a petty and disingenuous dispute. I can tell you the facts but I can’t force you to
understand them. We’ll respond to the motion when it’s filed.

Gregory F. Pesce | Partner
T +1 312 881 5360 E gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com>
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<image003.png>


From: Richard Pachulski <rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>>
Date: Thursday, Oct 12, 2023 at 7:10 PM
To: Pesce, Gregory <gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com>>
Cc: James O'Neill <JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com>>, O'Neill, Andrew
<aoneill@whitecase.com<mailto:aoneill@whitecase.com>>, Alan Kornfeld
<akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com>>, Debra Grassgreen
<dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com>>, Hershey, Samuel
<sam.hershey@whitecase.com<mailto:sam.hershey@whitecase.com>>, Steven W. Golden
<sgolden@pszjlaw.com<mailto:sgolden@pszjlaw.com>>
Subject: RE: Amyris - Jefferies

Greg, I do not intend to debate this with you. The Debtors asked for no discovery because the Jefferies Application was completely
deficient and I am not a mind reader. FTI can do the work, and you know it. Here is the bottom line: The Debtors do not believe that
Jefferies should be representing the Committee. If you don’t want to agree to a continuance that is the OCC’s call. In addition, I
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certainly hope Jefferies publicly disclosing the existence of the Givaudan Valuation Report does not have a negative impact on the
Debtors. That, in and of itself, is a likely breach of the NDA!!!

Regards,

Richard

Richard Pachulski
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 | Fax: 310.201.0760
rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>
vCard<http://www.pszjlaw.com/vcard-35.vcf> | Bio<http://www.pszjlaw.com/attorneys-richard-m-pachulski.html> |
LinkedIn<https://www.linkedin.com/in/richard-pachulski-a3891ba0>

<image001.jpg>
<image002.png>
Los Angeles | San Francisco | Wilmington, DE | New York | Houston

From: Pesce, Gregory [mailto:gregory.pesce@whitecase.com]
Sent: Thursday, October 12, 2023 4:01 PM
To: Richard Pachulski <rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>>
Cc: James O'Neill <JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com>>; O'Neill, Andrew
<aoneill@whitecase.com<mailto:aoneill@whitecase.com>>; Alan Kornfeld
<akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com>>; Debra Grassgreen
<dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com>>; Hershey, Samuel
<sam.hershey@whitecase.com<mailto:sam.hershey@whitecase.com>>; Steven W. Golden
<sgolden@pszjlaw.com<mailto:sgolden@pszjlaw.com>>
Subject: RE: Amyris - Jefferies

Rich,

It’s deeply ironic your client or your independent director can’t provide basic information to the Committee for its investigation after
weeks of asking—I refer to the statement filed by the Committee on this matter earlier this evening—yet the Debtors are now
invoking the existence of information the Debtors apparently have in their own files as a basis to the oppose the Jefferies retention.

There’s no basis for the continuance and it is bordering on harassment and abuse of the legal process to seek a continuance. The
reasons for this are numerous. To name a few, you need only to look at how long this matter has been noticed, the company’s
limited liquidity, and the fact you are asking the Committee to engage on a plan (for which the Committee requires involvement by
Jefferies). It’s also relevant that you already objected, you have not sought ANY discovery on this matter to date, and your client
possesses the information you assert affects Jefferies’s ability to get retained.

At the same time, the Committee needs resolution of this matter and we strongly disagree with the Debtors’ practice to date of
deferring and delaying hearings on key matters given the facts and circumstances of these cases. Therefore, we do not oppose your
request to have the motion to expedite heard next week.

For the avoidance of any doubt, we oppose the continuance to November itself.

We reserve all rights.


Gregory F. Pesce | Partner

T +1 312 881 5360        E gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com>

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<image003.png>

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                        Case 23-11131-TMH               Doc 542-2        Filed 10/15/23         Page 5 of 8

From: Richard Pachulski <rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>>
Date: Thursday, Oct 12, 2023 at 6:39 PM
To: Pesce, Gregory <gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com>>
Cc: James O'Neill <JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com>>, O'Neill, Andrew
<aoneill@whitecase.com<mailto:aoneill@whitecase.com>>, Alan Kornfeld
<akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com>>, Debra Grassgreen
<dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com>>, Hershey, Samuel
<sam.hershey@whitecase.com<mailto:sam.hershey@whitecase.com>>, Steven W. Golden
<sgolden@pszjlaw.com<mailto:sgolden@pszjlaw.com>>
Subject: Re: Amyris - Jefferies

Greg, we are doing an internal investigation of what was provided to Jefferies in May 2023 and the Debtors may have to take
Jefferies' deposition and request documents depending on what the Debtors discover internally. Leon concedes that Jefferies signed
an NDA and received financial information. We have no idea what Jefferies received, for instance, so the Debtors need to do internal
due diligence. To be clear, to the best of the Debtors' knowledge the information provided Jefferies was not for a 'pitch'. If you think
it was, please forward to me the RFP, since I know of none.

The failure to disclose Jefferies May 2023 involvement with the Debtors is a serious disclosure omission and should have resulted in
the the OCC filing a revised retention motion or,
more appropriately, permanently withdrawing the Jefferies Retention Motion. Also, to say the least, your reviewing the presentation
and possibly the documents provided to Jefferies by the Debtors without the Debtors' consent, in light of the NDA, is unprecedented
and inappropriate.

I would hope the OCC would reconsider its position and grant the Debtors the short requested continuance but, if not, we will try to
have the Motion to Continue heard this coming Monday.

Regards,

Richard

Sent from my iPhone

On Oct 12, 2023, at 3:20 PM, Pesce, Gregory <gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com>> wrote:


Jamie -

We will oppose the continuance. We want to understand the basis for shortening notice. What’s the basis for the objection other
than the discovery by your client that Jefferies pitched work to it prepetition? Is there something else that you are going to
invoke? The extension does not make sense based on what Rich emailed me about, so, we’re trying to confirm the exact issue.

Please advise and we can give you a response on the shortening notice.

Greg


Gregory F. Pesce | Partner

T +1 312 881 5360     E gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com>

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From: James O'Neill
<JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com%3cmailto:JONeill@pszjlaw.com>>>
                                                                   4
                        Case 23-11131-TMH           Doc 542-2       Filed 10/15/23      Page 6 of 8
Date: Thursday, Oct 12, 2023 at 5:24 PM
To: Richard Pachulski
<rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com%3cmailto:rpachulski@pszjlaw.com>>>
Cc: Pesce, Gregory
<gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com%3cmailto:gregory.p
esce@whitecase.com>>>, O'Neill, Andrew
<aoneill@whitecase.com<mailto:aoneill@whitecase.com<mailto:aoneill@whitecase.com%3cmailto:aoneill@whitecase.com>>>,
Alan Kornfeld
<akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com%3cmailto:akornfeld@pszjlaw.com>>>,
Debra Grassgreen
<dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com%3cmailto:dgrassgreen@pszjlaw.c
om>>>
Subject: Re: Amyris - Jefferies

Correct

James E. O’Neill
Pachulski Stang Ziehl & Jones LLP

On Oct 12, 2023, at 5:14 PM, Richard Pachulski <rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>> wrote:


Jamie, unless I am wrong, we are requesting Monday for the hearing on the Motion to Continue and November 6, the omnibus
hearing date, for a continued hearing on the Jefferies Motion.

Richard Pachulski
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 | Fax: 310.201.0760
rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com%3cmailto:rpachulski@pszjlaw.com>>
vCard<http://www.pszjlaw.com/vcard-35.vcf<http://www.pszjlaw.com/vcard-35.vcf<http://www.pszjlaw.com/vcard-
35.vcf<http://www.pszjlaw.com/vcard-35.vcf>>> | Bio<http://www.pszjlaw.com/attorneys-richard-m-
pachulski.html<http://www.pszjlaw.com/attorneys-richard-m-pachulski.html<http://www.pszjlaw.com/attorneys-richard-m-
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pachulski-a3891ba0/<https://www.linkedin.com/in/richard-pachulski-a3891ba0<https://www.linkedin.com/in/richard-pachulski-
a3891ba0/<https://www.linkedin.com/in/richard-pachulski-a3891ba0>>>

[image001.jpg][image002.png]
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From: Pesce, Gregory [mailto:gregory.pesce@whitecase.com]
Sent: Thursday, October 12, 2023 2:04 PM
To: James O'Neill <JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com>>; O'Neill, Andrew
<aoneill@whitecase.com<mailto:aoneill@whitecase.com>>
Cc: Richard Pachulski <rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com>>; Alan Kornfeld
<akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com>>; Debra Grassgreen
<dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com>>
Subject: RE: Amyris - Jefferies

James,

When are you proposing the shortened hearing for on the expedited motion?

Gregory F. Pesce | Partner
T +1 312 881 5360 E
gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com%3cmailto:gregory.pe
sce@whitecase.com>>
White & Case LLP | 111 South Wacker Drive, Suite 5100 | Chicago, IL 60606-4302
[image003.png]
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                        Case 23-11131-TMH               Doc 542-2        Filed 10/15/23        Page 7 of 8

From: James O'Neill
<JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com%3cmailto:JONeill@pszjlaw.com>>>
Date: Thursday, Oct 12, 2023 at 4:59 PM
To: Pesce, Gregory
<gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com<mailto:gregory.pesce@whitecase.com%3cmailto:gregory.p
esce@whitecase.com>>>, O'Neill, Andrew
<aoneill@whitecase.com<mailto:aoneill@whitecase.com<mailto:aoneill@whitecase.com%3cmailto:aoneill@whitecase.com>>>
Cc: Richard Pachulski
<rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com<mailto:rpachulski@pszjlaw.com%3cmailto:rpachulski@pszjlaw.com>>>,
Alan Kornfeld
<akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com<mailto:akornfeld@pszjlaw.com%3cmailto:akornfeld@pszjlaw.com>>>,
Debra Grassgreen
<dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com<mailto:dgrassgreen@pszjlaw.com%3cmailto:dgrassgreen@pszjlaw.c
om>>>
Subject: Amyris - Jefferies

Greg and Andy, I understand the committee has not agreed our request to continue the hearing on the Jefferies retention. If that is
still the case, we will need to file a motion asking the court to adjourn it and we will request that it be heard on shortened time.

Can you please confirm that the Committee will not agree to continue the matter to November 6 and, if so, does the committee
oppose our request for shortened time on the motion to continue?

Thanks.

Jamie

James O'Neill
Pachulski Stang Ziehl & Jones LLP
Direct Dial: 302.778.6407
Tel: 302.652.4100 | Cell: 302.438.1615 | Fax: 302.652.4400
JONeill@pszjlaw.com<mailto:JONeill@pszjlaw.com>
vCard<http://www.pszjlaw.com/vcard-67.vcf<http://www.pszjlaw.com/vcard-67.vcf<http://www.pszjlaw.com/vcard-
67.vcf<http://www.pszjlaw.com/vcard-67.vcf>>> | Bio<http://www.pszjlaw.com/attorneys-james-e-
oneill.html<http://www.pszjlaw.com/attorneys-james-e-oneill.html<http://www.pszjlaw.com/attorneys-james-e-
oneill.html<http://www.pszjlaw.com/attorneys-james-e-oneill.html>>> | LinkedIn<https://www.linkedin.com/in/james-o-neill-
7b95699<https://www.linkedin.com/in/james-o-neill-7b95699<https://www.linkedin.com/in/james-o-neill-
7b95699<https://www.linkedin.com/in/james-o-neill-7b95699>>>

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policy<https://www.whitecase.com/privacy-policy<https://www.whitecase.com/privacy-policy>>>.

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telephoning +1 212 819 8200. Please then delete the email and any copies of it. Thank you.

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policy>>.

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specifically authorized to receive it. If you are not the intended recipient, please do not read, copy, use or disclose the contents of
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telephoning +1 212 819 8200. Please then delete the email and any copies of it. Thank you.

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telephoning +1 212 819 8200. Please then delete the email and any copies of it. Thank you.

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specifically authorized to receive it. If you are not the intended recipient, please do not read, copy, use or disclose the contents of
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telephoning +1 212 819 8200. Please then delete the email and any copies of it. Thank you.

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